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                                   UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                            CRIMINAL MINUTES

Date: October 15, 2018             Time: 1:45-1:51 pm                       Judge: Edward J. Davila
                                   Total Time: 6 Mins.
Case No.: 18-cr-00258-EJD- Case Name: UNITED STATES v. Elizabeth A. Holmes(P)(NC), Ramesh
1,2                                Sunny Balwani(P(NC)
Attorney for Plaintiff: John Bostic, Robert Leach, Jeffrey Schenk
Attorney for Defendant: Lance Wade(Holmes), Jeffrey Coopersmith, Mark Bartlett, Kelly
Gordon(Balwani)

 Deputy Clerk: Adriana M. Kratzmann                       Court Reporter: Irene Rodriguez

 Interpreter: N/A                                         Probation Officer: N/A

                                 PROCEEDINGS – STATUS CONFERENCE

Defendants are present and out of custody. Hearing held.
Defense Counsel informed the Court of the voluminous amount of discovery in this matter approx. 12 million
pages of documents. The Government will produce about half of the discovery (6 million pages) soon and then
the additional half of discovery remaining after that. The parties are to meet and confer within 10 days pursuant to
the order issued on 10/12/2018 by Magistrate Judge Susan van Keulen.
The Court upon agreement and no objection of the parties makes a finding that the case is complex.
Counsel requested the matter be continued to allow for review of discovery.
The Court granted the request and continued the matter to 1/14/2019.
Pursuant to 18 U.S.C. §3161(h)(7)(A), the Court found the ends of justice served in granting the continuance
outweighed the best interests of the public and the defendant in a speedy trial and excluded time from 10/15/20/18
through and including 1/14/2019. For the reasons stated on the record, time is excluded pursuant to 18 U.S.C.
§3161(h)(7)(B)(iv).

CASE CONTINUED TO: January 14, 2018 1:30 P.M. for Further Status Conference.

EXCLUDABLE DELAY:
Category – Effective preparation of Counsel.
Begins – 10/15/2018
Ends – 1/14/2019




                                                                                                  Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                                      Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                                         Original: Efiled
 I: Interpreter
                                                                                                                    CC:
